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                  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

        I, Justin Stern, Special Agent with the Federal Bureau of Investigation (“FBI”), being

 duly sworn, depose and state under penalty of perjury that the following is true to the best of

 my information, knowledge and belief.

                       INTRODUCTION AND AGENT BACKGROUND

        1.      I make this affidavit in support of an application for a criminal complaint for the

 arrest of Wesley David Gilreath relating to violations of Title 18, United States Code, Section

 2252A(a)(5)(B), possession of child pornography.

        2.      I am a Special Agent with the FBI, and have been an agent since December 2004.

 As a part of my training, I received seventeen weeks of investigative training at the FBI

 Academy in Quantico, Virginia. Since completing training, I have participated in numerous

 criminal investigations, which have utilized physical and electronic surveillance, financial

 analysis, interviews, surreptitious recordings, undercover operations, search warrants, arrests,

 informants, seizure and analysis of computer information and various other techniques. I have

 investigated organized crime, drugs, gangs, violent crime, firearms, financial crime, and money

 laundering. I also investigate criminal violations relating to child exploitation and child

 pornography, including violations pertaining to the illegal production, distribution, receipt and

 possession of child pornography, in violation of the aforementioned statutes. I am currently

 assigned in Boulder, Colorado, at an office within the FBI’s Denver Division.

        3.      As the primary Case Agent for this investigation, I am familiar with the facts of

 the case. The facts set forth in this affidavit are based on my personal knowledge as the

 investigation’s Case Agent; knowledge obtained from other individuals including law

 enforcement personnel; and my review of reports and other evidence. The information contained

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 within this affidavit does not represent every fact learned by law enforcement during the course

 of the investigation but includes information sufficient to establish probable cause for the

 requested complaint.


                                     RELEVANT STATUTES

        4.      This investigation concerns alleged violations of Title 18, United States Code,

 Section 2252A(a)(5)(B), relating to the possession of child pornography.

        5.      18 U.S.C. Section 2252A(a)(5)(B) prohibits a person from knowingly possessing

 any book, magazine, periodical, film, videotape, computer disk, or any other material that

 contains an image of child pornography that has been mailed, or shipped or transported using any

 means or facility of interstate or foreign commerce or in or affecting interstate or foreign

 commerce by any means, including by computer, or that was produced using materials that have

 been mailed, or shipped or transported in or affecting interstate or foreign commerce by any

 means, including by computer.

                                          DEFINITIONS

        6.      The following definitions apply to this Affidavit.

        7.      “Child Pornography” includes the definition in 18 U.S.C. § 2256(8) (any visual

 depiction of sexually explicit conduct where (a) the production of the visual depiction involved

 the use of a minor engaged in sexually explicit conduct, (b) the visual depiction is a digital

 image, computer image, or computer-generated image that is, or is indistinguishable from, that of

 a minor engaged in sexually explicit conduct, or (c) the visual depiction has been created,

 adapted, or modified to appear that an identifiable minor is engaged in sexually explicit conduct).




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        8.      “Visual depictions” includes prints, copies of visual images, developed and

 undeveloped film and videotape, and data stored on computer disk or by electronic means, which

 is capable of conversion into a visual image. See 18 U.S.C. § 2256(5).

        9.      “Sexually Explicit Conduct” means actual or simulated sexual intercourse,

 including genital-genital, oral-genital, anal-genital, or oral-anal, whether between persons of the

 same or opposite sex, or bestiality, or masturbation, or sadistic or masochistic abuse, or

 lascivious exhibition of the genitals or pubic area of any person. See 18 U.S.C. § 2256(2)(A).

                                        INVESTIGATION

        Execution of Federal Search Warrant on Wesley D. Gilreath’s Cellular Telephone


        10.     On June 1, 2019, at approximately 12:46 a.m., Boulder Police Department (BPD)

 Officer Cody Hartkopp responded to a call that public transit employees recovered an Apple

 iPhone containing child pornography. Specifically, Officer Hartkopp was dispatched to the

 vicinity of the Regional Transportation District (RTD), 1710 Exposition Drive, Boulder,

 Colorado. I have reviewed a copy of Officer Hartkopp’s investigation of the matter, maintained

 in BPD case number 19-05931.

        11.     Officer Hartkopp interviewed “RTD employee 1,” who was responsible for

 cleaning and servicing all buses upon their return to the terminal. On May 31, 2019, at

 approximately 11:41 p.m., RTD employee 1 began cleaning RTD bus number 3703 upon its

 return to the terminal. RTD employee 1 observed a black Apple iPhone left on the dashboard

 between the steering wheel and windshield, a location where bus drivers leave forgotten




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 property. 1 Thereafter, RTD employee 1 notified an RTD supervisor and placed the Apple

 iPhone on the RTD customer service counter and resumed cleaning.

        12.     “RTD employee 2” 2 and “RTD employee 3” then arrived to investigate the Apple

 iPhone in an attempt to identify its owner. RTD employee 2 observed that the Apple iPhone was

 unlocked and accessible. RTD employee 2 then unlocked the Apple iPhone and was

 immediately taken to the Apple iPhone’s photos. RTD employee 2 observed that the Apple

 iPhone’s photos contained various child pornography. RTD employee 2 stated that s/he was

 familiar with child pornography via his/her former employment with Child Protective Services.

 Thereafter, RTD employee 2 notified an RTD supervisor; the pair then called the police.

        13.     After investigating the matter on-scene, Officer Hartkopp took the Apple iPhone

 into BPD custody. Upon returning to BPD, Officer Hartkopp unlocked the Apple iPhone and

 accessed its photos in the manner described by RTD employee 2. After reviewing contents of

 the Apple iPhone’s photos, Officer Hartkopp accessed the Apple iPhone’s security settings to

 look for any emergency content information and observed that the Apple iPhone was logged into

 a particular Apple Account.

        14.     On June 20, 2019, Colorado State Judge Patrick Butler authorized a search

 warrant for the Apple iPhone (search warrant number P19-5931). BPD Detective Beth

 McNalley applied for the search warrant. Thereafter, pursuant to the state search warrant BPD

 accessed the Apple iPhone, extracted and analyzed its contents. This affidavit intentionally




        1 On July 27, 2019, Officer Hartkopp advised me that his report mistakenly identified
    May 30, 2019, as the date RTD Employee 1 recovered the Apple iPhone. RTD Employee 1
    actually recovered the Apple iPhone on May 31, 2019, approximately one hour before
    Officer Hartkopp responded to the call during the early hours of June 1, 2019.
        2
          Based on a query of the National Crime Information Center, RTD Employee 2 had
    several arrests and possibly two convictions for theft-related offenses in the 1990s.
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 omits any information or evidence derived from BPD’s review of the contents of the Apple

 iPhone.

               Evidence Identifying Gilreath as the Owner/User of the Apple iPhone

        15.     On July 25, 2019, United States Magistrate Judge Kristen L. Mix authorized a

 search warrant (see 19-SW-5759-KLM) for the contents of the Apple iPhone for evidence, fruits

 and instrumentalities of violations of: Title 18, U.S.C. § 2252, Certain Activities Relating to

 Material Involving the Sexual Exploitation of Minors; Title 18, U.S.C. § 2252A, Certain

 Activities Relating to Material Constituting or Containing Child Pornography. On July 26, 2019,

 I executed the search warrant. Thereafter, with the assistance of an FBI Computer Scientist, I

 began identifying and analyzing items and information on the phone, as authorized by the search

 warrant.

        16.     Among other things, the extraction identified the cellular telephone as: an Apple

 iPhone 5; having last used mobile telephone number 1-317-777-1511; and having Apple

 identification “videomagazinist@gmail.com.” The name “Wes Gilreath” was noted in the

 telephone’s contacts having email address videomagazinist@gmail.com. An email retrieved

 from the Apple iPhone was sent from videomagazinist@gmail.com on April 7, 2019, at

 approximately 3:29:16 a.m.

        17.     Messaging information on the Apple iPhone identifies Wesley D. Gilreath

 (GILREATH) as its owner. On November 9, 2018, at approximately 4:07:24 p.m., telephone

 number 1-317-777-1511 sent an “iMessage” to telephone number 1-317-407-3515, identified as

 “Dad.” The message reads [verbatim]: “I don’t know what this is about and it is not okay for

 me to get random charges to my debit card.” A photograph is attached to the message. The

 photograph is titled “IMG_0008.JPG.” I have reviewed the photograph, which appears to be a

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 healthcare statement from Kaiser Permanente, titled “Premium Bill.” The statement is addressed

 to: Wesley David Gilreath; 3605 Table Mesa Dr Apt M256, Boulder, Colorado 80305-5858.

 The premium due date is October 31, 2018.

         18.       On July 22, 2019, I caused a query of a Colorado Division of Motor Vehicles

 database for information concerning GILREATH. The results showed Colorado driver’s license

 number 17134851 was issued to GILREATH on May 24, 2019. The license identified

 GILREATH’s full name as Wesley David Gilreath. The address listed on the license is 3605

 Table Mesa Dr Apartment M256, Boulder, Colorado 80305-5858. GILREATH’s birth year is

 listed as 1990.

         19.        During the course of my investigation, I learned that the FBI has had prior

 contact with GILREATH. Specifically, on January 24, 2019, FBI Task Force Officer (TFO) Eric

 Miller interviewed Wesley D. Gilreath in Boulder, Colorado, after receiving information that

 GILREATH had posted a “Montana Hunting Guide” online. The FBI identified GILREATH as

 the poster after receiving a tip advising that a then unknown entity was posting “hunting guides”

 concerning: Jews; Muslims; Bureau of Land Management and Montana National Guard

 facilities; and a refugee center. I am aware that FBI investigators understand some such “hunting

 guides” to contain information that may be used to violently target individuals or entities with

 belief systems, identities, ethnicities, religions, political views or other matters antithetical to

 their own.

         20.       GILREATH’s attorney, Jason Savela, was present during the FBI interview.

 During the interview, GILREATH provided personally identifying information, including the

 home address, phone number, and email addresses mentioned previously in this affidavit.

 GILREATH also stated that his father’s name is David Gilreath and that he resides in Carmel,



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 Indiana. GILREATH’s father’s telephone number was provided as 317-844-5671. GILREATH

 created an audio recording of the interview, and the FBI later learned that he posted or attempted

 to post the recording on his YouTube webpage.

        21.     Review of the Apple iPhone revealed that on January 4, 2019, at approximately

 8:12:59 a.m., telephone number telephone number 1-317-407-3515, identified as “Dad,” sent an

 iMessage to telephone number 1-317-777-1511. The message reads [verbatim]: “Good

 morning. Could you please text me the time of your interview and the name of the special

 agent? Thanks[.]” On January 4, 2019, at approximately 8:14:11 a.m., telephone number 1-317-

 777-1511 sends an iMessage to 1-317-407-3515, stating [verbatim]: “Wednesday @ noon

 w/Special Agent Nathan Miller.”

        22.     On January 7, 2019, at approximately 3:06:29 p.m., telephone number telephone

 number 1-317-407-3515, identified as “Dad,” 3 sent an iMessage to telephone number 1-317-777-

 1511. The message reads [verbatim]: “Did Jason Savela call you?”

        23.     On January 17, 2019, at approximately 2:00:18 p.m., telephone number 1-317-

 777-1511 sent an iMessage to telephone number 1-317-407-3515, identified as “Dad.” The

 message reads [verbatim]: “Our meeting with the FBI is set for this Wednesday.”




 3 The results from LexisNexis query of telephone number 317-407-3515 associated the telephone
 number with an individual known as David Gilreath, a Social Security number ending in 2202,
 and three addresses. One of those addresses is 1022 Henley Circle, Carmel, Indiana 46032-7713.
 On July 28, 2019, I obtained a copy of David Gilreath’s Indiana driver’s license, number
 8909261977. The license identified David Gilreath’s full name as David S. Gilreath. David S.
 Gilreath’s Social Security number was listed as ending in 2202. The address listed on the license
 is 1022 Henley Circle, Carmel, Indiana 46032. David S. Gilreath’s birth year was identified as
 1956. I submit that David S. Gilreath is Wesley D. Gilreath’s father.


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         24.    On May 28, 2019, at approximately 9:30:38 a.m., a video named “Wes Gilbreath

 terrorism interrogation.mov” was created on the Apple iPhone. I was unable to actually view the

 video file.

         25.    On July 23, 2019, Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF)

 Special Agent John Zavodsky provided information to FBI Special Agent Marisa Budwick

 concerning GILREATH’s attempted purchase of a firearm at the Gunsport firearms shop in

 Boulder on May 24, 2019. GILREATH completed ATF form 4473 as part of the attempted

 purchase. I have reviewed a copy of GILREATH’s completed form 4473. GILREATH listed

 his residence as 3605 Table Mesa Drive M256, Boulder, Colorado 80305. GILREATH

 presented identification was Colorado driver’s license number 17134851. According to Agent

 Zavodsky, GILREATH’s attempted purchase was denied.

         26.    On May 24, 2019, at approximately 2:48:33 p.m., telephone number 1-317-777-

 1511 sent an iMessage to “Dad” at telephone number 1-317-407-3515. The message reads

 [verbatim]: “You’ve permanently ruined my ability to buy a gun in CO and other states.”

         27.    On July 23, 2019, Agent Budwick received information from a Boulder Creek

 Apartments Employee, employed in a property management capacity for the complex housing

 3605 Table Mesa Drive M256, Boulder, Colorado 80305. According to the employee,

 GILREATH currently resides at 3605 Table Mesa Drive M256, Boulder, Colorado 80305 on a

 month-to-month lease and has telephone number telephone number 317-777-1511.

         28.    During the course of my investigation, I learned that the National Center for

 Missing and Exploited Children previously provided FBI Headquarters’ Violent Crimes Against

 Children Section with several tips regarding the possible possession, distribution and online

 posting of child pornography with email accounts, social media and other entities now believed



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 to be associated with GILREATH. As part of that investigation, on June 18, 2019, FBI

 Headquarters served an administrative subpoena on T-Mobile for account information

 concerning telephone number 317-777-1511. The subpoena requested records and information

 from December 1, 2018 to June 17, 2019. On June 19, 2019, T-Mobile provided records to the

 FBI, in compliance with the subpoena. The results showed: the then current subscriber was

 David Gilreath; the billing and service addresses were identified as 1022 Henley Circle, Carmel,

 IN 46032; and that David Gilreath was the subscriber during the requested date range. I submit

 that GILREATH possessed and used the aforementioned Apple iPhone having telephone number

 317-777-1511, while David S. Gilreath, GILREATH’s father, likely paid the bill and was

 identified as the subscriber.

                            Evidence of Possession of Child Pornography

        29.     I have reviewed some of the content of the Apple iPhone that is material

 involving a sexual interest in minors. In summary, the content includes thousands of still images

 of prepubescent minor males and females, ranging in apparent ages from infants to pre-teens.

 The prepubescent minors are often shown nude, with exposed genitalia in sexual positions and/or

 poses; engaged in sexual acts with themselves, adults, other minors and/or implements; as well

 as subject to bondage and/or sexual torture. Hundreds of videos of a similar nature are also

 present. Metadata attributed to many of the relevant still images reveals that they were saved on

 the Apple iPhone itself, rather than temporarily cached. Specifically, many were located in

 subfolders under: “iPhone/var/mobile/Media/DCIM/.” The dates on which these images were

 saved to the Apple iPhone spans from at least on or about March 24, 2019, to on or about May

 29, 2019. Four examples of images saved to the Apple iPhone during this date range are as

 follows:

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              a. IMG_3081.jpg: This image depicts a prepubescent minor female. She is nude

                 and lying on her back with her arms and legs are spread apart. She is blindfolded

                 and bound to the floor with black restraints on her wrists and ankles. Her

                 genitalia is exposed.

              b. IMG_5003.jpg: This image depicts a prepubescent minor female. She is nude

                 and lying on her back with her legs spread apart. She is blindfolded. Her

                 genitalia would be visible but for the fact a dog appears to be placing its mouth on

                 the genitalia of the child.

              c. IMG_2308.jpg: This image depicts a prepubescent minor female. She is lying on

                 her back. Her bare chest and her face are visible. An adult penis is near her face;

                 a substance appearing to be ejaculate is on her mouth, chin, and neck.

              d. IMG_3845.jpg: This image depicts a female infant or toddler who appears to be

                 under two years of age. She is nude and is lying on her back. Her arms are raised

                 above her head. Her legs are spread apart and her genitalia and anus are fully

                 visible. The focus of this image is on the child’s genitalia and anus.

        30.      In addition to the images described above, there are numerous images and videos

 on the Apple iPhone depicting the sexual abuse and/or torture of infants and/or toddlers. The

 forensic examination of the Apple iPhone is ongoing, and additional forensic analysis is needed

 to determine the dates on which these additional images and videos came to reside on the Apple

 iPhone.

        31.      I submit the Apple iPhone’s Internet search history also shows evidence that

 GILREATH sought violent child pornography. On May 19, 2019, at approximately 2:45:05




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 a.m., an internet search using the Safari browser was conducted using the following phrase

 [verbatim]: “white toddler raped by big black cock.”

        32.       I submit other Internet searches demonstrate GILREATH’s knowledge such

 content is child pornography. On May 19, 2019, at approximately 2:42:44 a.m., an Internet

 search using the Safari browser was conducted using the following phrase [verbatim]:

 “interracial child porn.” On May 6, 2019, at approximately 9:11:58 p.m., an Internet search

 using the Safari browser was conducted using the following phrase [verbatim]: “pdf Pedophile’s

 Guide to Love and Pleasure Philip R. Greaves.”

        33.       I submit the Apple iPhone’s visited website history further demonstrates

 GILREATH seeking child pornography. On May 18, 2019, at approximately 12:40:13 a.m., a

 website was visited having the title [verbatim] “/mir/ ~ babypussy[.]” 4 On May 17, 2019, at

 approximately 11:53:23 p.m., a website was visited having the title “/mir/ ~ youngpenetration[.]”

        34.        Based on an FBI Computer Scientist’s research that was conveyed to me, the

 Apple iPhone 5 was likely assembled in Shenzen, China. I am unaware of any Apple iPhones

 manufactured in the State and District of Colorado.




        4   I understand the notation “/mir/ ~” to be computer directory information.
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                                         CONCLUSION

        35.    Based on the investigation described above, I believe that there is probable cause

 to believe that Wesley David GILREATH has committed violations of Title 18, United States

 Code, Section 2252A(a)(5)(B), possession of child pornography.

        36.    I declare under the penalty of perjury that the foregoing is true and correct to the

 best of my knowledge and belief.

                                                             Respectfully Submitted,
                                                             s/ Justin Stern_______

                                                             Justin Stern
                                                             Special Agent
                                                             Federal Bureau of Investigation


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 SUBSCRIBED and SWORN before me this ______ day of ______ 2019


 ____________________________
 United States Magistrate Judge

 Reviewed and submitted by Julia Martinez, Assistant United States Attorney




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